                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                                 June 9, 2016
                              No. 10-16-00171-CR
                           IN RE HERMAN LEE KINDRED
                                       
                                center-4254500
                              Original Proceeding
                                       
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JUDGMENT

	The Petition for Writ of Mandamus filed by Herman Lee Kindred has been considered by the Court.  Because the Court has no jurisdiction of this proceeding, the Court has determined that the Petition for Writ of Mandamus should be and hereby is dismissed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court.
							PER CURIAM
						SHARRI ROESSLER, CLERK			
3040380-1206500
						By: ___________________________
							Nita Whitener, Deputy Clerk

